  Case 18-12095-BFK             Doc 8 Filed 06/17/18 Entered 06/18/18 00:24:33                        Desc Imaged
                                     Certificate of Notice Page 1 of 2
                               UNITED STATES BANKRUPTCY COURT
                                              Eastern District of Virginia
                                             200 South Washington Street
                                                Alexandria, VA 22314
                         NOTICE OF ELECTRONIC FILING PROCEDURE
Case         WW Contractors, Inc.
Name:

Case Number: 18−12095−BFK                                    Date Filed: June 14, 2018

The above case, which has been filed in this court, can be accessed electronically via the Court's Internet site at
http://www.vaeb.uscourts.gov. In compliance with Federal Rule of Bankruptcy Procedure 9011 and in accordance
with the Local Bankruptcy Rule 5005−2 authorizing the Clerk to promulgate and revise the Court's Electronic Case
Files Policy, the registered participant's password shall constitute the signature of that person; therefore, security of
a registered participant's password is the responsibility of that person. An original signed copy of the filing shall
be retained in the registered participant's files in accordance with the Administrative Procedures.

Parties with legal representation must file documents in accordance with the following:

1.     The requirements for filing, viewing and retrieving case documents are: A personal computer running Internet
       Explorer or Firefox, Adobe Acrobat 4.0 or later software to convert documents from a word processor format
       to a portable document format (PDF), and an Internet Service Provider (ISP) using Point−to−Point Protocol
       (PPP). The URL address is www.vaeb.uscourts.gov and a password is needed to access this system. Please
       contact the Court for further assistance. If you are unable to comply with these requirements, then

2.     You must file a "Request for Waiver to File by Computer Diskette or Conventionally" as provided for in the
       Electronic Case Files Policy to indicate your inability to file through use of the Internet component of
       CM/ECF. If the Court authorizes you to file by diskette, then

3.     You must submit your documents on a diskette using PDF format. The Adobe Acrobat software will provide
       this format. Further instruction may be found in Adobe's manual. Use a separate diskette for each filing.
       Submit the diskette in an envelope with the case name, case number, type and title of document, and the file
       name on the diskette. An original signed copy of the filing shall be retained in the registered participant's
       files in accordance with the Electronic Case Files Policy. If you are unable to comply with these
       requirements or the requirements set forth in item number 1, or the requirement set forth in item number 2,
       above, then

4.     You must submit your documents on a diskette using one of the following formats: Word, WordPerfect, or
       DOS text (ASCII). An original signed copy of the filing shall be retained in the registered participant's
       files in accordance with the Electronic Case Files Policy. If you are unable to comply with this requirement,
       the requirements set forth in items number 2 or 3, or the requirements set forth in item number 1, above, then


5.     You then may file conventionally on unstapled, unbound, 8 ½" x 11" single−sided paper. Documents must be
       submitted with full signature(s), and will be scanned by the Clerk's Office. The scanned file will constitute the
       original signature(s). Include your "Request for Waiver to File by Computer Diskette or
       Conventionally" with your filing.

Important Note: All parties without legal representation, except governmental units and institutional entities
described in Electronic Case Files Policy 2(A)(2)(b), may file documents conventionally in accordance with
the Local Bankruptcy Rules.
Dated: June 15, 2018                                         William C. Redden
[VAN062vMay2015.jsp]                                         Clerk of the Bankruptcy Court
        Case 18-12095-BFK              Doc 8 Filed 06/17/18 Entered 06/18/18 00:24:33                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 18-12095-BFK
WW Contractors, Inc.                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: douglasse                    Page 1 of 1                          Date Rcvd: Jun 15, 2018
                                      Form ID: VAN062                    Total Noticed: 20


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 17, 2018.
db             +WW Contractors, Inc.,    P.O. Box 597,    Randallstown, MD 21133-0597
intp           +Jeffrey M. Sirody,    Jeffrey M. Sirody and Associates, P.A.,    1777 Reisterstown Road,
                 Suite 360 E,    Baltimore, MD 21208-6318
desig          +Warren Wiggins,    P.O. Box 597,    Randallstown, MD 21133-0597
14415832       +American Express,    Po Box 297871,    Fort Lauderdale, FL 33329-7871
14415834       +Business Merchant Funding,    3301 N. University Drive, Suite 300,
                 Pompano Beach, FL 33065-4149
14415835       +Comptroller of Maryland,    Revenue Admins Division,    Annapolis, MD 21411-0001
14415836       +Empire Funding,    505 Park Avenue,    Baltimore, MD 21201-4668
14415838       +First National Bank,    4140 East State St.,    Hermitage, PA 16148-3401
14415839       +Forward Financing,    36 Bromfield Street,    Boston, MA 02108-5221
14415840       +HOP Capital,    2591 Krameria Street,    Denver, CO 80207-3436
14415844       +PBS Capital,    15851 North Dallas Parkway Ste 210,    Addison, TX 75001-6326
14415843       +Payroll Funding LLC,    10785 W. Twain Avenue, Suite 200,    Las Vegas, NV 89135-3028
14415845       +Saturn Funding,    1322 Manning Pkwy,    Powell, OH 43065-1100
14415846       +Warren Wiggins,    3605 Garth Manor Ct.,    Woodstock, MD 21163-1056
14415847       +Washington Redskins,    Headquarters,    21300 Redskin Park Dr,   Ashburn, VA 20147-6100

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
14415833        E-mail/PDF: ais.bmw.ebn@americaninfosource.com Jun 16 2018 02:32:16     BMW Financial Services,
                 PO Box 78066,    Phoenix, AZ 85062-8066
14415837        E-mail/Text: Bankruptcy@whetstoneholdings.com Jun 16 2018 02:26:13     Everest Business Funding,
                 2001 NW 107 Ave,    Miami, FL 33172
14415841        E-mail/Text: cio.bncmail@irs.gov Jun 16 2018 02:25:16     Internal Revenue Service,
                 PO Box 7346,   Philadelphia, PA 19101-7346
14415842       +E-mail/Text: legal@mlfactors.com Jun 16 2018 02:26:15     ML Factors,   428 Central Ave Fl 2,,
                 Cedarhurst, NY 11516-1929
14415848        E-mail/Text: bankruptcy@ondeck.com Jun 16 2018 02:26:14     On Deck Capital, Inc.,
                 101 West Colfax Ave., 10th Street,    Denver, CO 80202
                                                                                            TOTAL: 5

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 17, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 15, 2018 at the address(es) listed below:
              John P. Fitzgerald, III   ustpregion04.ax.ecf@usdoj.gov
                                                                                            TOTAL: 1
